           Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 1 of 16



1    AARON D. FORD
      Attorney General
2    GREGORY L. ZUNINO, Bar No. 4805
      Deputy Solicitor General
3    State of Nevada
     100 N. Carson Street
4    Carson City, Nevada 89701-4717
     Tel: (775) 684-1100
5    E-mail: glzunino@ag.nv.gov
6    Attorneys for Barbara Cegavske
7

8                              UNITED STATES DISTRICT COURT
9                                      DISTRICT OF NEVADA
10

11   FIGHT FOR NEVADA,                                    Case No. 3:20-CV-00837-RFB-EJY
12                        Plaintiff,
                                                           RESPONSE TO EMERGENCY
13   vs.                                                   MOTION FOR PRELIMINARY
14   BARBARA CEGAVSKE, in her official                          INJUNCTION
     capacity as Nevada Secretary of State,
15
                          Defendant.
16

17

18            Defendant Secretary of State Barbara Cegavske (Secretary), by and through

19   counsel, Aaron D. Ford, Attorney General, and Gregory L. Zunino, Deputy Solicitor

20   General, hereby submits her response to Emergency Motion for Preliminary Injunction.

21   (ECF No. 5).

22            DATED this 13th day of May, 2020.

23                                            AARON D. FORD
                                              Attorney General
24
                                              By:    Gregory L. Zunino
25                                                   GREGORY L. ZUNINO
                                                     Deputy Solicitor General
26                                                   gzunino@ag.nv.gov
27                                                   Attorneys for Secretary of State
28

                                                    -1-
          Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 2 of 16



1                                 POINTS AND AUTHORITIES
2    I.      INTRODUCTION
3            Plaintiff Fight for Nevada and its members seek to recall Nevada Governor Steve
4    Sisolak from public office. Fight for Nevada demands a federal court order compelling the
5    Secretary to violate state law in order to give its members more time to gather signatures
6    in support of its recall petition. In a nutshell, this case presents the Court with a
7    question of state law, not federal law, because Nevada’s recall process is governed by
8    Article 2, § 9 of the Nevada Constitution and Nevada Revised Statutes (NRS) § 306.015
9    (among other statutes). 1    There is not a single allegation in this case, much less a

10   provable fact, which demonstrates that the Secretary has done anything other than

11   adhere to Nevada law.

12           To overcome this deficiency in its case, Fight for Nevada argues that the Secretary

13   must actually violate state law in order to facilitate the exercise of rights allegedly

14   granted by the First and Fourteenth Amendments to the U.S. Constitution. But the First

15   and Fourteenth Amendments say little about the process for recalling a public official

16   pursuant to state law. As a method of recalling public officials from state office, Nevada

17   statutes and constitutional provisions are admittedly subject to the requirement of the

18   Equal Protection Clause that restrictions on signature gathering be facially neutral and

19   nondiscriminatory.     See Angle v. Miller, 673 F.3d 1122, 1127 (2012). “[W]hen a state

20   chooses to give its citizens the right to enact laws by initiative [or recall public officials

21   from office], it subjects itself to the requirements of the Equal Protection Clause.”) Id.

22   (internal citations and quotations omitted).

23           However, the federal courts have no power to modify provisions of state law when

24   those provisions apply fairly and equally to all petition proponents. “When a state

25   election law provision imposes only ‘reasonable, nondiscriminatory restrictions’ upon the

26   First and Fourteenth Amendment rights of voters, ‘the State's important regulatory

27
             Like the recall process, Nevada’s referendum and initiative processes are
             1
28
     governed by comparable provisions imposing deadlines and signature gathering
     requirements. See Nev. Const., Art. 19, §§ 1-2; NRS 295.056(2)-(4).
                                                 -2-
        Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 3 of 16



1    interests are generally sufficient to justify’ the restrictions.” Burdick v. Takushi, 504 U.S.

2    428, 434 (1992) (quoting Anderson v. Celebrezze, 460 U.S. 780, 788 (1983)); see also

3    Arizona Green Party v. Reagan, 838 F.3d 983, 988 (9th Cir. 2016). This case is unique,

4    moreover, because it involves a challenge to facially neutral, nondiscriminatory provisions

5    of state law governing Nevada’s recall process. Because the recall process is akin to

6    impeachment, federal case law addressing the electoral process is only marginally

7    instructive.

8          The U.S. Supreme Court has made an observation about the popular initiative

9    process that is equally applicable to the state recall process. Regarding the initiative

10   process, the Court observed that “[d]irect lawmaking by the people was ‘virtually

11   unknown when the Constitution of 1787 was drafted.’” Arizona State Legislature v.

12   Arizona Independent Redistricting Commission, ––– U.S. ––––, 135 S. Ct. 2652, 2659

13   (2015) (quoting Donovan & Bowler, An Overview of Direct Democracy in the American

14   States, in Citizens as Legislators 1 (S. Bowler, T. Donovan, & C. Tolbert eds. 1998)). As a

15   means of removing public officials from office, Nevada’s recall process, like its popular

16   initiative process, implicates “the structure of its government, and the character of those

17   who exercise government authority.” See id. at 2673 (quoting Gregory v. Ashcroft, 501

18   U.S. 452, 460, 111 S. Ct. 2395, 115 L.Ed.2d 410 (1991)). In summary, it is one method by

19   which Nevada “defines itself as a sovereign.” See id. In this highly unorthodox lawsuit,

20   Fight for Nevada asks the Court to modify Nevada’s sovereign process for recalling public

21   officials from office. Because the recall process involves voting at the end of the process,

22   after a recall proposal has qualified for the ballot, the process is presumed to be governed

23   by the body of federal case law that addresses voting rights under the First and the

24   Fourteenth Amendments to the U.S. Constitution.

25         However, this case is not about voting. Fight for Nevada challenges only the

26   process for qualifying a recall proposal to appear on the ballot before anyone could cast a

27   vote. As a question of state sovereignty, the process for qualifying a recall proposal is

28   analogous to state laws governing impeachment. See Nev. Const., Art. 7, §§ 1–3. So long

                                                  -3-
           Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 4 of 16



1    as the process is facially neutral and nondiscriminatory, the Secretary’s adherence to that

2    process passes muster under rational basis scrutiny, as well as under the Anderson-

3    Burdick balancing test as traditionally applied to election cases. See, e.g., Public Integrity

4    Alliance, Inc. v. City of Tucson, 863 F.3d 1019, 1027 (9th Cir. 2016) (upholding, under the

5    Anderson-Burdick analysis, Tucson’s hybrid system for electing members of its city

6    council despite the city’s request for application of rational basis scrutiny).

7             The District of Nevada recently concluded that the Secretary followed the law with

8    respect to the implementation of the all-mail primary election for June 9, 2020. See Paher

9    v. Cegavske, ––– F. Supp.3d ––––, 2020 WL 2089813 (D. Nev. 2020). And here, it is

10   equally self-evident that the Secretary followed the law as it pertains to the recall

11   process. Adherence to the rule of law serves as a rational basis and lawful justification

12   for the Secretary’s decision to deny Fight for Nevada’s request for extralegal

13   accommodations as its members attempt to gather signatures in support of their recall

14   proposal.

15   II.      BACKGROUND

16            A.    Statement of Undisputed Facts

17            The relevant facts of this case are undisputed. The only dispute in this case

18   concerns: (1) the scope of the Secretary’s authority to modify statutory requirements for

19   qualifying a recall proposal to appear on Nevada’s ballot (ECF No. 1 at ¶1); and (2) the

20   nature of the State of Nevada’s role in creating the conditions that are alleged to have

21   hindered signature gathering efforts in support of Fight for Nevada’s recall proposal (ECF

22   No. 1 at ¶¶23-31).

23            As noted above, Fight for Nevada is a committee seeking to recall Governor Sisolak

24   from public office. (ECF No. 1 at ¶1.1). The Secretary, named as a defendant in her

25   official capacity, is the Chief Officer of Elections for the State of Nevada.         NRS §

26   293.124(1). (ECF No. 1 at ¶2).      Her responsibilities include, but are not limited to,

27   execution and enforcement of all provisions of state and federal law relating to elections,

28   including NRS § 306.015.       Pursuant to NRS § 293.247(4), the Secretary is further

                                                   -4-
        Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 5 of 16



1    authorized to “provide interpretations and take other actions necessary for the effective

2    administration of the statutes and regulations governing the conduct of primary, general,

3    special and district elections in this State.”

4          Fight for Nevada requested that the Secretary extend the statutory deadline for

5    gathering signatures in support of its recall proposal. (ECF No. 1 at ¶23). This statutory

6    deadline is set forth at NRS § 306.015(3). Fight for Nevada requests that this statutory

7    deadline be extended for an indefinite period of time (ECF No.1 at pp 10–11).

8    Predictably, Fight for Nevada does not address its members’ lack of progress toward

9    gathering the required number of signatures prior to the issuance of the emergency

10   directives of which they complain. (ECF No. 1 at ¶¶16–21).          In this regard, NRS §

11   306.105(3) requires that Fight for Nevada report its signature gathering progress as of

12   the midpoint between the filing of the recall petition and the May 14 deadline for the final

13   submission of signatures.      Because the petition was filed on February 14, 2020, the

14   midpoint for signature submission fell on March 30, 2020. (ECF No. 10 at 2:4–6). The

15   total number of unverified signatures submitted at the midpoint was just 15,892,

16   representing a mere 6.5 percent of the total number of signatures required to qualify the

17   recall proposal for the ballot. (ECF. No. 10 at 2:7–11).

18         B.     Overview of Recall and Powers of the Secretary of State

19                i. The Statutory Deadline for Gathering Signatures in Support of a
                     Recall Petition
20

21         The deadline to gather the required number of signatures for a petition for recall is
22   set forth at NRS § 306.015(3). This provision requires that petition proponents submit all
23   necessary signatures for verification not later than the 90th day after the date on which
24   the notice of intent was filed.      NRS § 306.015(3) sets forth an additional midpoint
25   deadline for reporting on the progress of signature gathering. As noted above, the
26   midpoint deadline for reporting on the progress of signature gathering was March 30,
27   2020, and the deadline for the final submission of signatures is May 14, 2020. (ECF No.
28   10 at 2:1–6). Fight for Nevada had roughly one month, namely the period between

                                                      -5-
       Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 6 of 16



1    February 14 and March 15, to gather signatures before any COVID-19 emergency

2    directives had taken effect. (ECF No. 10 at 1:22–23). As of March 30, Fight for Nevada

3    had gathered only 6.5% of the signatures required to qualify its recall proposal for the

4    ballot despite the relatively short period of time during which its members had then been

5    subject to social distancing mandates. (ECF No. 10 at 2:7–11).

6          Although NRS § 293.127565(3) gives the Secretary the authority to extend the

7    statutory deadline when petition gatherers are denied access to public buildings, it is

8    inapplicable to the facts of this case. This provision states that the statutory deadline

9    “must be extended for a period equal to the time that the person was denied the use of a

10   public building for the purpose of gathering signatures on a petition, but in no event may

11   the deadline be extended for a period of more than 5 days.”             NRS § 293.127565(3)

12   (emphasis added). Fight for Nevada does not specifically allege that its members were

13   denied access to a public building, nor does it correlate the requested extension with a

14   specific 5-day time frame as required by NRS § 293.127565(3).

15                ii. Powers of the Secretary of State

16         The Secretary had no power to make the statutory modifications requested by

17   Fight for Nevada. Regarding the powers of constitutional officers, including the Secretary

18   of State, the Nevada Supreme Court has stated:

19                Every constitutional officer derives his power and authority
                  from the constitution, the same as the legislature does, and the
20                legislature, in the absence of express constitutional authority, is
                  as powerless to add to a constitutional office duties foreign to
21                that office, as it is to take away duties that naturally belong to
                  it. ... It is well settled by the courts that the legislature, in the
22                absence of special authorization in the constitution, is without
                  power to abolish a constitutional office or to change, alter, or
23                modify its constitutional powers and functions
24   State ex rel., Harvey v. Second Judicial Dist. Court, 117 Nev. 754, 765, 32 P.3d 1263, 1270

25   (quoting State v. Douglass, 33 Nev. 82, 92-93, 110 P. 177, 180 (1910)).

26         The constitutional powers of the Secretary of State are set forth at Article 5, §§ 19

27   and 20 of the Nevada Constitution. Section 19 sets the qualifications for holding the

28   office of Secretary of State, and establishes a term limit for holding the office, while § 20

                                                  -6-
        Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 7 of 16



1    gives the Legislature broad latitude to confer powers upon the Secretary of State in

2    regards to record keeping, elections, commercial recordings and various other matters.

3    However, the Legislature has not conferred emergency powers upon the Secretary of

4    State, such that the Secretary would be authorized to make the statutory modifications

5    requested by Fight for Nevada. In this regard, the deadlines for gathering signatures are

6    firmly established in statute. Aside from the provisions of NRS § 293.127565(3), there is

7    nothing express or implied in the Statutes of Nevada that would authorize the Secretary

8    to modify a firm statutory deadline for submitting signatures in support of a recall

9    petition. 2

10          Furthermore, any proposal to extend the deadline for gathering signatures for a

11   recall petition is fraught with practical and logistical issues, including the possible

12   necessity of extending initiative petition deadlines as well. These practical and logistical

13   concerns, as well as the ultimate legal question concerning the scope of the Governor’s

14   emergency powers, are most appropriately addressed by state and local elected officials as

15   opposed to the federal judiciary. See, e.g., New York v. U.S., 505 U.S. 144, 155 (1992)

16   (“[T]he task of ascertaining the constitutional line between federal and state power has

17   given rise to many of the Court's most difficult and celebrated cases.”) For this reason, the

18   Court should afford deference to the requirements of Nevada law.

19   III.   LEGAL STANDARD

20          A.     The Standard of Review for Preliminary Injunction

21          To obtain a preliminary injunction, Fight for Nevada must demonstrate that (1) it

22   is likely to succeed on the merits, (2) it is likely to suffer irreparable harm in the absence

23   of preliminary relief, (3) the balance of equities tips in its favor, and (4) an injunction is in

24   the public interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). This

25   traditional test applies absent Fight for Nevada’s ability to demonstrate that the balance

26

27
            While the Governor arguably has emergency power pursuant to Chapter 411 of
            2
28
     the Nevada Revised Statute to modify statutory deadlines, there is no mandatory
     requirement that he do so.
                                            -7-
        Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 8 of 16



1    of equities tips sharply in its favor. Fox Broad. Co. v. Dish Network L.L.C., 747 F.3d 1060,

2    1066 n.2 (9th Cir. 2014).

3          Fight for Nevada cannot meet this burden because it is unlikely to succeed on the

4    merits, having generally non-cognizable claims. Further, Fight for Nevada will not suffe r

5    irreparable harm because its proposal to recall the Governor from public office will not

6    likely succeed even if the signature gathering campaign is allowed to continue beyond the

7    statutory deadline for submitting signatures.

8          Finally, the balance of equities and the public interest during these unusual times

9    weigh heavily against injunctive relief. Extending the deadline for gathering signatures

10   in support of a recall petition will simply prolong the period of time during which

11   signature gatherers will interact with the public, potentially exacerbating the spread of

12   the COVID-19 illness. Additionally, an extension to the recall signature deadline will

13   possibly require, in the interest of fairness, uniformity and consistency, a comparable

14   extension to initiative petition deadlines. These extensions, in turn, would likely have an

15   adverse impact upon preparations for the 2020 general election and the 2021 legislative

16   session. See footnote 1, supra.

17         B.     The Legal Standard for Evaluating Fight for Nevada’s Claims

18         As an initial matter, the Court must determine whether this case presents a

19   question about voting rights or a question about legislative process. If it is the former, the

20   Anderson-Burdick balancing test/line of cases provide the applicable analytical

21   framework. Fight for Nevada argues that Nevada law, if enforced according to its plain

22   language, will cause its members irreparable harm. (ECF No. 5 at pp. 7–8). But they cite

23   not a single case from Anderson-Burdick which stands for the proposition that federal law

24   gives them a right, in the midst of a pandemic, to demand judicial modifications to

25   Nevada’s firmly-established process for qualifying a recall petition to appear on the ballot.

26         Angle v. Miller, supra, is instructive, but not directly on point. As the Court state d

27   in Angle, “[t]here is no First Amendment right to place an initiative on the ballot.” 673

28   F.3d at 1133 (citing Meyer v. Grant, 486 U.S. 414, 424 (1988)). By this reasoning, there is

                                                  -8-
        Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 9 of 16



1    likewise no First Amendment right to place a recall proposal on the ballot. The recall

2    process, like the popular initiative process, is a product of state law, not federal law. The

3    general question presented in Angle was whether a statutory restriction on signature

4    gathering may, consistent with the First Amendment, disproportionately burden certain

5    categories of speech or specific groups of speakers. See id. The Court acknowledge d that

6    the Equal Protection Clause applies to the initiative process, see id. at 1127–28, but it did

7    not hold that the federal judiciary has the power to order modifications to state initiative

8    laws that are facially neutral and nondiscriminatory. To the contrary, the Court in Angle

9    upheld NRS § 295.012, the challenged initiative provision.          That provision requires

10   initiative proponents to obtain petition signatures from number of registered voters equal

11   to 10% of votes cast in previous general election in each of state’s three congressional

12   districts. Id.

13          The Court upheld the provision precisely because it is facially neutral and

14   nondiscriminatory. As the Court stated, the provision “singles out no discrete or insular

15   minority for special treatment [and] also applies to all initiatives regardless of subject

16   matter, not solely to initiatives thought to be favored by a targeted segment of the

17   population.”     Angle, 673 F.3d at 1132 (citing Gordon v. Lance, 403 U.S. 1, 5 (1971)

18   (internal quotations omitted). In this case, the challenged statutory provision governing

19   recall meets those very same criteria.

20          Nevada case law is likewise instructive, but not directly on point. In University

21   and Community College System of Nevada v. Nevadans for Sound Government, the

22   Nevada Supreme Court evaluated the propriety of specific government action that had

23   restricted the use of public facilities for purposes of gathering signatures in suppo rt o f an

24   initiative petition. 120 Nev. 712, 728, 100 P.3d 179, 191 (2004). There, the Court held

25   that the restrictions in question regarding the time, place, and manner of signature

26   gathering were “permissible restrictions related to legitimate government safety and

27   functional operating purposes.” Id. Clearly, the social distancing mandates at issue in

28   this case serve the similar purpose of protecting the health and safety of the public.

                                                   -9-
       Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 10 of 16



1            Fight for Nevada does not cite a single case that extends to its members a federal

2    right to require that the Secretary take affirmative action, in violation of Nevada law, to

3    facilitate signature gathering in furtherance of a recall proposal. Furthermore, because

4    this lawsuit challenges a legislative process as opposed to an electoral process, namely a

5    process akin to impeachment, see Arizona State Legislature, 135 S. Ct. at 2659, judicial

6    deference is warranted.       For example, in National Association of Social Workers v.

7    Harwood, the First Circuit Court of Appeals stated that when “a legislative body adopts a

8    rule, not invidiously discriminatory on its face, that bears upon its conduct of frankly

9    legislative business, we think that the doctrine of legislative immunity must protect

10   legislators and legislative aides who do no more than carry out the will of the body by

11   enforcing the rule as a part of their official duties.” 69 F.3d 622, 631 (1st Cir. 1995).

12           As noted above, the statute at issue here is analogous to a rule governing a

13   legislative process, and the role of the Secretary is comparable to that of a legislator who

14   merely enforces those rules.       Although there is no judicial precedent for applying

15   legislative immunity in this context, principles of separation of powers and federalism

16   favor rational basis scrutiny over Anderson-Burdick scrutiny. See id. at 635 (“As a rule, a

17   legislature’s regulation of the atmosphere in which it conducts its core legislative

18   activities—debating, voting, passing legislation, and the like—is part and parcel of the

19   legislative process, and, hence, not subject to a judicial veto.”)

20           If the Court applies the Anderson-Burdick balancing test, the Court should apply

21   not strict scrutiny, but rather evaluate the “means-ends fit between the state’s proffered

22   justification and the rule employed.” See Short v. Brown, 893 F.3d 671, 676–77 (9th Cir.

23   2018)    In Crawford v. Marion County Election Board, for example, the U.S. Supreme

24   Court noted that it has not “identif[ied] any litmus test for measuring the severity of a

25   burden that a state law imposes on a political party, an individual voter, or a discrete

26   class of voters. However slight that burden may appear, as Harper [v. Virginia Bd. Of

27   Elections, 383 U.S. 663, 86 S. Ct. 1079, 16 L.Ed.2d 169 (1966)] demonstrates, it must be

28   justified by relevant and legitimate state interests ‘sufficiently weighty to justify the

                                                   -10-
       Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 11 of 16



1    limitation.’” 553 U.S. 181, 191 (2008) (quoting Norman v. Reed, 502 U.S. 279, 288–289

2    (1992)); see also Timmons v. Twin Cities Area New Party, 520 U.S. 351, 359 (1997) (“No

3    bright line separates permissible election-related regulation from unconstitutional

4    infringements.”). But, “[w]hen a state election law provision imposes only ‘reasonable,

5    nondiscriminatory restrictions’ upon the First and Fourteenth Amendment rights of

6    voters, ‘the State's important regulatory interests are generally sufficient to justify’ the

7    restrictions.” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 788); see Crawford,

8    553 U.S. at 189–90 (internal quotation and citations omitted) (“[E]venhanded restrictions

9    that protect the integrity and reliability of the electoral process itself are not invidious.”).

10         As the U.S. Supreme Court did in Crawford, this Court should evaluate the

11   constitutionality of applicable Nevada law by focusing on the state's interests. See id. at

12   191. As a matter of principle, the state has an interest in adhering to the rule of law so

13   that deadlines and signature and witness requirements are applied uniformly to all

14   petition proponents. 3    It also has an interest in ensuring: (1) that there is adequate

15   popular support for Fight for Nevada’s recall proposal to warrant its inclusion on the

16   ballot; (2) that ballot access is not fraudulently procured over an atypically lengthy period

17   for gathering signatures; and (3) that uniformity and consistency of enforcement and

18   administration are not seriously compromised by making special accommodations for

19   some petition proponents and not others.             These are indisputably compelling and

20   longstanding interests.

21   IV.    ARGUMENT

22         Fight for Nevada is Unlikely to Succeed on the Merits

23         A.     The Court Lacks Subject Matter Jurisdiction Over the Complaint

24         As Judge Miranda Du very recently noted, ‘the states’ police powers over matters of

25   public health and safety and to act over the general welfare of their inhabitants is

26

27         3  There are currently two petitions to amend the Nevada Constitution, and four
28   petitions to amends the Statutes of Nevada. The text of those petitions are posted at
     https://www.nvsos.gov/sos/elections/initiatives-referenda/2020-petitions.

                                                   -11-
       Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 12 of 16



1    entrenched in the rights reserved to the state under the Tenth Amendment to the United

2    States Constitution.” Paher, ––– F. Supp.3d ––––, 2020 WL 2089813 at p. 7 (D. Nev.

3    2020) (citing Reynolds v. Sims, 377 U.S. 533, 554 (1964)).        And though “the Equal

4    Protection Clause provides a check on such state authority, ‘our scrutiny will not be so

5    demanding where we deal with matters resting firmly within a State's constitutional

6    prerogatives.’” Gregory, 501 U.S. at 462 (quoting Sugarman v. Dougall, 413 U.S. 634, 648

7    (1973)).

8           The right to recall public officials exists under the Nevada Constitution, not the

9    U.S. Constitution.    Accordingly, it is Nevada’s constitutional prerogative to place

10   reasonable, nondiscriminatory conditions upon the exercise of that right.         Nevada’s

11   statutory deadline is a reasonable, nondiscriminatory condition. Admittedly, Nevada now

12   faces a public health emergency that makes it difficult for signature gatherers to satisfy

13   these conditions, but this alleged “burden” on rights granted by the First and Fourteenth

14   Amendments is the same burden that every other Nevadan now faces. Due to the COVID-

15   19 pandemic, Nevadans are not free to interact with their fellow citizens in the same way

16   that they did prior to the pandemic. The limits on mobility and interpersonal contact

17   resulted from the pandemic itself, as well as the health and safety measures that were

18   put in place to limit the spread of the COVID-19 illness. Under the circumstances, the

19   Governor’s issuance of these health and safety directives was a proper exercise of the

20   powers reserved to the states under the Tenth Amendment.

21          In this context, given the absence any discriminatory burdens upon rights existing

22   under the First and Fourteenth Amendments, Fight for Nevada’s request for injunctive

23   relief amounts to nothing more than a demand that the Secretary take affirmative action

24   to facilitate the exercise of a right under the Nevada Constitution. In substance, this case

25   presents a question of state law, not federal law, because the state of Nevada has not

26   impermissibly burdened any rights under the U.S. Constitution. Therefore, the Court

27   lacks subject matter jurisdiction over Fight for Nevada’s claims. Whether the Nevada

28

                                                 -12-
       Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 13 of 16



1    Constitution requires that state officials take affirmative steps to accommodate a recall

2    campaign is a question for Nevada’s state district courts.

3
           B.     Fight for Nevada is Unlikely to Succeed on the Merits of its Claim for a
4                 Waiver of the Statutory Deadline for Recall Petitions

5          Despite having made little progress in gathering signatures prior to March 15,
6    2020, Fight for Nevada seeks an indefinite extension of the statutory May 14 deadline
7    described at NRS § 306.015(3). As discussed above, however, the deadline is neither
8    discriminatory on its face nor discriminatory in its current application. It impacts all
9    political activists in the same way, regardless of political affiliation, viewpoint, race,
10   ethnicity or gender. Fight for Nevada argues only that the deadline prevents its members
11   from gathering signatures during the COVID-19 pandemic. Fight for Nevada attributes
12   the signature gathering impediment to gubernatorial directives mandating social
13   distancing. However, Fight for Nevada does not identify the source of its members’
14   alleged right under the U.S. Constitution to recall a state public official. Although they
15   have a right under the First Amendment to engage in political advocacy, that right has
16   not been significantly impacted by the enforcement of NRS § 306.015(3).            Fight for
17   Nevada and its members remain free to criticize Governor Sisolak in whatever manner
18   they deem appropriate other than through a recall campaign.
19         In summary, NRS § 306.015(3) serves a legitimate state interest in ensuring that a
20   recall proposal has adequate public support to qualify for the ballot. It also serves the
21   state’s interest in making sure that signature gathering is completed within a 90-day
22   period of time, thus minimizing the risk that ballot access may be fraudulently procured
23   over an indefinite period of time. Moreover, the enforcement of NRS § 306.015(3) places
24   no impermissible burden upon a right that is guaranteed by the First or the Fourteenth
25   Amendment to the U.S. Constitution. Although enforcement of the statutory deadline
26   could theoretically impact Fight for Nevada’s ability to recall Governor Sisolak, it does not
27   impact its members’ ability to criticize Governor Sisolak in some manner other than
28   through a recall campaign. Any burden on their right to engage in political advocacy

                                                 -13-
       Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 14 of 16



1    through their preferred method of a recall campaign is heavily outweighed by the state’s

2    interest in adhering to the rule of law and in maintaining uniformity in the application o f

3    Nevada’s laws governing the state’s initiative, referendum and recall petition processes.

4
           Fight for Nevada Cannot Demonstrate Irreparable Harm Because There
5          are Adequate Means Available for its Members to Criticize the Governor

6          As discussed above, Fight for Nevada does not have a right under the U.S.
7    Constitution to recall a state public official from office. Insofar as Fight for Nevada may
8    prefer to use a recall campaign as a method of criticizing Governor Sisolak, the burden
9    upon this preference is minimal compared to the harm that will likely result to the state
10   if the statutory deadline is extended. Fight for Nevada and its members can continue to
11   criticize the Governor by means other than a recall campaign. Additionally, Fight for
12   Nevada is unable to establish causality between enforcement of the May 14 deadline and
13   its inability to qualify the recall proposal for the ballot. As evidenced by the midpoint
14   submission of signatures, the recall proposal has insufficient public support to earn a
15   place on the ballot. Consequently, due to the lack of a causal relationship between the
16   signature deadline and the inability to gather a sufficient number of signatures, Fight fo r
17   Nevada cannot reasonably argue that enforcement of the deadline will cause its members
18   irreparable harm. (ECF No. 10 at 2:7–11).
19         The Balance of Equities Favors the Secretary
20         An extension of the deadline for gathering signatures in support of Fight for
21   Nevada’s recall campaign will compromise the state’s ability to uniformly and
22   consistently enforce and administer the statutory deadlines and provisions governing the
23   initiative process; it will prolong the time during which signature gatherers will interact
24   with the public, possibly exacerbating the spread of the COVID-19 virus; and it will
25   compromise the state’s ability to ensure that the recall proposal has adequate public
26   support to warrant its inclusion on the ballot. Compared with the minimal imposition
27   upon Fight for Nevada’s preferred method of criticizing Governor Sisolak, the potential
28

                                                 -14-
          Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 15 of 16



1    harm to the state of Nevada weighs heavily in favor of denying the motion for preliminary

2    injunction.

3            The Public Interest Favors the Secretary

4            There is no genuine doubt that Nevada has the power to protect the health of its

5    citizens, particularly in an emergency such as this.          Prior to ratification of the

6    Constitution, various colonies had quarantine laws, thereby establishing the legal

7    tradition of local and state jurisdiction over matters of public health reflected in the

8    Constitution’s reservation of power to the states to regulate public health, safety, and

9    morals. Gibbons v. Ogden, 22 U.S. 1 (1824). It is in this context that Fight for Nevada

10   seeks to exploit the public health emergency for its benefit, invoking the resulting health

11   and safety directives as justification for extending the statutory deadline for gathering

12   signatures in support of a recall campaign. According to the available evidence, the recall

13   campaign has insufficient public support to earn a place on the ballot. Under these

14   circumstances, it is in the public interest to uphold the rule of law and enforce NRS §

15   306.015(3) according to its plain language.

16   V.      CONCLUSION

17           The instant lawsuit against Secretary Cegavske presents a question of state law,

18   not federal law. That question is whether the state has an obligation to facilitate the

19   exercise of a right under the Nevada Constitution when a pandemic makes it difficult to

20   satisfy the lawful statutory conditions on the exercise of that right. Fight for Nevada fails

21   to identify a violation of federal law or the U.S. Constitution. For this reason, and the

22   other reasons discussed above, the Court should deny Fight for Nevada’s motion for a

23   preliminary injunction against the enforcement of NRS § 306.015(3)

24           DATED this 13th day of May, 2020.

25                                           AARON D. FORD
                                             Attorney General
26                                           By: Gregory L. Zunino
                                                   GREGORY L. ZUNINO
27                                                 Deputy Solicitor General
                                                   gzunino@ag.nv.gov
28
                                             Attorneys for Secretary of State
                                                   -15-
       Case 2:20-cv-00837-RFB-EJY Document 11 Filed 05/13/20 Page 16 of 16



1                               CERTIFICATE OF SERVICE

2          I certify that I am an employee of the Office of the Attorney General, State of

3    Nevada, and that on this 13th day of May, 2020, I filed and served with this Court’s

4    CM/ECF electronic filing system, RESPONSE TO EMERGENCY MOTION FOR

5    PRELIMINARY INJUNCTION, served listed below:

6    Robert E. Barnes, Esq.
     robertbarnes@barneslawllp.com
7
     Jeffrey Jaegar, Esq.
8    jeff@jeffjaeger.com
     Pro Hac Vice Pending
9
     Counsel for Plaintiff
10

11

12
                                               _____________ ________
13                                             An employee of the Office
                                               of the Attorney General
14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             -16-
